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               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION

MAXUM INDEMNITY COMPANY,                   )
                                           )
        Plaintiff,                         )
                                           )
v.                                         )        CIVIL ACTION NO.
                                           )        1:18-CV-01236-WSD
COLLIERS INTERNATIONAL –                   )
ATLANTA, LLC; and,                         )
ALEXANDER DEITCH,                          )
                                           )
        Defendants.                        )


     DEFENDANT COLLIERS INTERNATIONAL – ATLANTA, LLC’S
            CERTIFICATE OF INTERESTED PERSONS

      Defendant Colliers International – Atlanta, LLC hereby files its Certificate of

Interested Persons and Corporate Disclosure Statement pursuant to Local Rule 3.3,

Federal Rule of Civil Procedure 7.1, and states as follows:

      (1)    The undersigned Counsel of record for a party to this action certifies

that the following is a full and complete list of all parties to this action, including

any parent corporation and any publicly held corporation that owns 10% or more of

the stock of a party:

      Plaintiff:          Maxum Identity Company

      Defendants:         Alexander Deitch
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                            Colliers International – Atlanta, LLC

      Defendant Colliers International – Atlanta, LLC has two members: CIA

HOLDCO, Inc., a Georgia corporation, and FS Williams Acquisitionco LLC, a

Delaware LLC. FS Williams Acquisitionco LLC is wholly owned by Colliers

International USA, LLC (a Delaware LLC), which is wholly owned by Colliers

International (USA), Inc. (a Delaware corporation), of which Colliers International

Group, Inc. (an Ontario corporation) owns 10% or more of stock.

       (2)   The undersigned further certifies that the following is a full and

complete list of all other persons, associations, firms, partnerships, or corporations

having either a financial interest in or other interest which could be substantially

affected by the outcome of this particular case:

      Mattress Firm, Inc.

      (3)    The undersigned further certify that the following is a full and complete

list of all persons serving as attorneys for the parties in this proceeding:

             Plaintiff:

             Jeffrey Melcher
             Frank I. Chao
             Wilson, Elser, Moskowitz, Edelman & Dicker, LLP
             950 East Paces Ferry Road, N.E.
             Suite 2850
             Atlanta, Georgia 30326



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            Defendant Colliers International – Atlanta, LLC:

            Shattuck Ely, Esq.
            Michael Gretchen, Esq.
            FELLOWS LABRIOLA, LLP
            225 Peachtree Street, N.E.
            Suite 2300 South Tower
            Atlanta, GA 30303


      Respectfully submitted, this 18th day of April, 2018.

                                      FELLOWS LABRIOLA LLP

                                      s/Michael Gretchen
                                      Shattuck Ely
                                      Georgia Bar No. 246944
                                      tely@fellab.com
                                      Michael Gretchen
                                      Georgia Bar No. 522171
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(404) 586-9200
                                      Attorneys for Defendant Colliers
                                      International – Atlanta, LLC




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                          CERTIFICATE OF SERVICE

      I certify that this day, I electronically filed the foregoing with the clerk’s office

CM/ECF system, which will send email notification to the following counsel of

record:

      Jeffrey Melcher
      Frank I. Chao
      Wilson, Elser, Moskowitz, Edelman & Dicker, LLP
      950 East Paces Ferry Road, N.E.
      Suite 2850
      Atlanta, Georgia 30326

      Respectfully submitted, this 18th day of April, 2018.


                                         s/Michael Gretchen
                                         Michael Gretchen




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